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                                IN TI{B UNITET) STATE$ DTS'I'RTCT C()[]RT
                              T.ORTIfE SOUTHERN DISTIUCT OF AI..ABAIVIA
                                          SOUTHERN DIV.ISION
                              OII AMERICA           *
     UNITEI} STATES
                                                           *
     v.
                                                           ii         Crhninnl No. I t-00{}12'I(D
                                                           *
                                                           zt
     I-OR T .q KOW RONS KI BIUL[,,
                                                           *
     BUTCH BluLL,
                                                           *
     RAYtrORD TRAVIS GOODWIN,
                                                           rlr
     ANTHONY trRIC MOSLEY,
                                                           *
     .TAMES ANTI{,ONY GOINS,
                                                           *
     CI.TRTS VEIINON, JEFF VERNON,
                                                           tr
     sud LER('V WATERS


                                              TROTECTIVE oR--r.)ER
             .[.lris
                       rnatter is bcfore the Court upon Joirrt Motion for Protective Older subnritted by the

     United $rates of America and counsel for deferrdants Lori Skowlonski BLill, Brrtch
                                                                                              lhi.ll, ltaytbrd

     Travis Goo<lwin, AntSony Erie Moslcy, James Anthony Goins, Chris Vcrnon, Jcff Vct'rron, atrd

     Lcroy Waters spccificnlly uddressing the prurluction of discovcry and thc need to
                                                                                                 protect the

     priv*cy of individuals, including their personnl and protected heulth infbrnratiotr' Aftcr duc
                                                                                               to tlris action
     considerarion, the Joint Motiorr for Protectivc Ordet is GRANTED and the partie.r

     nre htileby ORDBRED as follows:

              t.         The Unite6 States shall provide cliscovcry to the d+ferrdatrts, in aceordarrcc with

     FgD.R,CnrM,P. 16. Based on rcpr.csentations lnade by the pnrtics in tlre Jr.rint
                                                                                                 Motion fbr

     Pmtective Order, sorns of tlre discovcry documenlt may be subject to thc Privncy Act, 5 U'S'C'

      g 5j2n, rlrc Health In$urance Portabitity and Accountability Act of 1996 and its irnplefitenting

                                                                                                       andlor
     regularions at 4-5 C,F,It. gg 164.t02-164.534, the Social Sccuiliry hct,42 U'S'C' $ 1306'

      to this Court's Stunding Ordet No, 30 (ln re: lmplernortution of Requircmeuts o:f tl'rc li.
      Clovcruurent Act of 2002),



      DOLStf HM\17S0710\l
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             2.      The Ulited Statcs shall producc lhese docuurcnts to the dcl'errdants utuEr.lactcrl.

     l3asecl. 01 rcp1'cserrtations made by the parties in th$ Joint Motion for Protcctivc Ordcl, :r^otlrc
                                                                                                                  ol'

                                                                                              addresscs. soci$l
     the.se 4ocumcrrts include persorral identifyirrg itrfom:ation (suctr as llames,

     $ecuilty rllnrbcrs, and clates of birtlr), financinl infurmation, ptotccted health inforn:atiotr
                                                                                                           alrcl tetx


     inflornrnliorr. Fol purposcs nfl this Protective Or'dct', thess docuflrents slrnll be lefcrrc(l to as
     {'prote.ctcd .JiscovcrY'"


             3,       'l'he defendnnts and/or tlreir courrscl nray gathct ot have prodtrcctl to thern li'om

                                                                                                   pclsorral and
     persolls or entities othcr than tlre Unitccl Stntes recordt u'hich tnay inclucle the

     protected trcalth information of paticnts ('thitd party pl'oduction"), Doctlnrents plodtrccd to
                                                                                                       infbrrnatiotr
     these clcfendnnt$ or their counsel from rhirct parties, which contain protected healtlr

     shall also be coltsidered protectcd discovnry,

             4.       ln or,clcr to lirnit thc dissemination of thc above+lescribe<t Prolectcd cliscovery, the

     pnrties arc ORDIIRDD to adhcre to the followingl

                      A.         Only defense counset, cgunsels' staff, defendant$' cxpert$, artcl defenclants

                                 shatl have scces$ to the protccted discovery. Plior to ollowirtg thuse

                                 ir*roo, acces$ to the protectcd disoovery, clet'etlse couusel will ndvise
                                 each pelson of the lirnitations on usc and disclosure of discovery as

                                 dictatcd by this joint rnotiorr and sub$ccluetrt Proteclivc Order, and wili

                                 providc ench suclr per$olr with a ctrpy of tl'ris Plotective older.

                      13,        The protected discovcly will bc uscd and disclosed solely lor purposcs of

                                 prepering dst'eildant$' defenscs in tbis case'




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                      c.     Afiy pfgtected rlis6gvqy irr this casc will be Storcd nt ck:fcr:sc couttssls'

                             officeS or tlte Ot.lice of adctblse exl:ert who, As trttted,.shnll be srtbjcct to

                             thc samc disclosurc lirtritatiorrs.

                      D.     Any nOtOt, D)emOrnnda, Spnrtnaties 0t Othtil' clocltr]reflts leflccting (he

                             prrtected discovcry Or copics madc ol'tho pr:otcctcd tliscovely will also be

                             stored at rJefCnSO cqtltrselst OffiCCS OI at n tlclenSe expctt's office, and will

                             be considottd plotectcd di.scovery'

                       E.    Any docurnent tiled witlr thc Coltt't, ilclnding any attachntent, wfiich

                             contains proteCtcd dis,:overy, or t descriptior: Ot rcproduction tJreteOf' will

                             bc tiled in reclacted tbrrrr or undct scal pttr$uant to this Courl's Sttrnding

                             OrderNo,30.

                       F.    The procedure lol use of protected discovcry dprirrg flny hcarirlg or' trial of

                             this mattet'Shalt be rJctcrrnined by the partic$ and thc Cottlt irt advnnce of

                             tbu hearing ot trial,

                       $,    Within 90 days of the tinal conclu.tion of this.matter', dcfentlant shail

                             retum the protected disCOvery prodtl06d by the Unitcd States and all

                             copics to counsel for the Unitcd States. As to protectod hoAlth infontration

                             obtaincd or dcrivcd fr.om the third parfy P!'odttction, both partics shall

                             dest[oy or fetur.r to the p€I.son or cntity that ptovidcd the third party

                             production any such infotmatiorr (inoluding al) copies rnadc) in their'

                             possession or the possession of their agents or subcOntractors in

                             accordance with 45 C,I},R, 0 164,512(e)(lXv)'




     r)ocsBl,lh^l ?80? l0$
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               5'       The Cor'rrt slnll rctain jurisdictiorr ro nrodily tlrc Ptotcctive ot:rjt;r'' illl(]Lr nl0ti0rl by

     any pht'ty. [,lntil thc Court rutes ou any such motion, no disclostu'e of pt'otcctiltl tlisriovuly shrrll

      be nrade except in cornpliance with the Pr:otective Order'.

               6.       The Protective Order shall survivc the tenninntion of this actiot:.

               7,       Nothing contained in this llrotective Order shall ircvent ot'irr alny way lirnit or

      impair.thc right uf thc Unitcd States to disclose to any rcgulatory'ot law enforcctrrcnt tgCney, or

      ggency or dcpartmurt of thc Urritcd States, ol any division ol'any such agency or delrat'tment.

      protccteti discovery do,cunrerrts relating to any potcntial violation of law ot r'egttlution, r:t relnting

      to any r$ttter within that Egency's jwisdiotiot), rrof shall anything containcd in this ltrotcctivc

      Orcler.plevent or in any way limit ot irtrpair the use of any such proteoterl discovery by an agcncy

      in any plnr:eeding relating (o any potential viulation of law or r'egulf,tion, 0t rglatirrg to st:y

      rnatr6f within thar agerrcy's jurisdiction; provicled, l:owevor* that (l) thc agcncy shatl maintnin

      tfuc confideltiality of thc protected cliscovuy consistent witb thc tcrms of this Protectivc Order,

      anrt (2) in accordance with 45 C.F.R. $ 164.512(e)(lXu), the Unitcd States shall not use o[

      disctose any proteetcd healfh informatiorr obtainctl ot derived from any thircl patty pt'udtrctiou

      other. than for purpo.ses of this case, A copy of the Protective Order will bc provided to said

      regulatory flgcncy, law crtfbrcelltent agerrcy, or any division, flgency or depattment of thc United

      [ibatcs, to insurs compliance therewith in connection with disclosure of protcctcd diseovcry

      documentg,                                                  !..t

               DoNE AND oR-DERED thig tlre jfl!"frtMay, 20t l.




                                                           Unitcd States Magistratc Judge


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